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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION,                  Case No. 1:11-cv-11732

         Plaintiff,                      Judge Denise J. Casper

         v.                              ORAL ARGUMENT REQUESTED

TEXAS ROADHOUSE, INC., TEXAS
ROADHOUSE HOLDINGS LLC, and
TEXAS ROADHOUSE MANAGEMENT
CORP., d/b/a TEXAS ROADHOUSE,

         Defendants.




  DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION TO
    STRIKE THE REPORTS AND TESTIMONY OF DR. DAVID L. CRAWFORD




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         Pursuant to Rule 26 of the Federal Rules of Civil Procedure, Rules 403 and 702 of the

Federal Rules of Evidence, and the standards announced in Daubert v. Merrell Dow Pharm.,

Inc., 509 U.S. 579 (1993), Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999), and subsequent

cases, Defendants Texas Roadhouse, Inc., Texas Roadhouse Holdings LLC, and Texas

Roadhouse Management Corp., d/b/a Texas Roadhouse (collectively, “Texas Roadhouse”) move

to strike the expert reports and testimony of Dr. David L. Crawford, an expert designated by the

Equal Employment Opportunity Commission (“EEOC”), in whole or, in the alternative, in part,

as set forth below.

                                          INTRODUCTION

         The EEOC relies heavily on Dr. Crawford’s statistical analyses to support its claim of a

pattern or practice of intentional age discrimination in four front-of-the-house (“FOH”) positions

(servers, server assistants, hosts and bartenders) across hundreds of Texas Roadhouse restaurants

over eight years. Dr. Crawford concludes that the nationwide average hiring rate of applicants

age 40 and over (“40+”) for these four positions is lower than expected given the applicant pool

for those positions, that this result is statistically significant, and therefore that it is unlikely to

have occurred by chance or purely random factors.

         Dr. Crawford’s analyses have been a moving target: after submitting his affirmative

expert report, he recognized several errors and served an amended report with significant

changes to his calculations and opinions. Dr. Crawford has since substantively amended his

reply report twice – even after his deposition and the close of expert discovery – with each

iteration setting forth new conclusions, analyses, and amended data sets. After multiple revisions

and corrections, however, Dr. Crawford’s conclusions still fall short of the minimal standards for

admissible evidence and should be excluded from this case for the following reasons.




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         First, Dr. Crawford relies on Census data relating to current employees in a wide range of

non-comparable food service establishments as a “proxy” to estimate the percentage of 40+

applicants in the Texas Roadhouse applicant pool. This application of Census data is unreliable

because: (a) comparing the Census data to actual applicant flow data demonstrates that the

Census data overestimate the number of 40+ individuals who applied for jobs at Texas

Roadhouse by a multiple of five; (b) the Census data include a large group of jobs and

establishments that are not comparable to the four FOH positions at Texas Roadhouse that are at

issue in this case; (c) the Census data do not account for first-time job seekers, and (d) the

Census data are no more complete than actual applicant flow data. As a result, the use of Census

data in any statistical analysis for this case renders the analysis neither probative nor admissible

under Federal Rule of Evidence 702, and would also confuse and mislead the finder of fact in

contravention of Rule 403.

         Second, Dr. Crawford’s opinions – even taken at face value – are based on averages from

nationwide aggregate statistics that are not probative of the EEOC’s theory of intentional age

discrimination by hundreds of individual decision-makers acting in a common way. Because

these analyses do not support the EEOC’s theory, cannot help a jury in determining any fact at

issue in this litigation, and are more likely to mislead the trier of fact, they should be excluded in

their entirety.

         Third, Dr. Crawford offers nothing but speculation on key elements of his analysis,

namely his assertions that (i) Texas Roadhouse’s hiring rates may have improved during the

relevant period because the EEOC sent a letter of determination in 2010 and filed this litigation

in 2011, and (ii) that there could have been a “chilling effect” on 40+ FOH applicants after the

opening of new restaurants. In both instances, Dr. Crawford admittedly did not investigate any



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facts or alternative causes and has not formed a professional opinion as to whether or not his

conjectures are true. As mere speculation, these assertions cannot assist a jury in understanding

the evidence or in determining a fact at issue, and should therefore be excluded pursuant to

Federal Rules of Evidence 702 and 403. In addition, Dr. Crawford’s theory regarding a “chilling

effect” was articulated for the first time in his reply expert report in contravention of Fed. R. Civ.

P. 26, and it should be disregarded for that reason as well.

         For each of these reasons, Dr. Crawford’s opinions fail the standards for admissibility

and reliability in expert evidence and should be stricken.

                                       LEGAL STANDARD

         Federal Rule of Evidence 702 governs admissibility of expert testimony and provides:

                A witness who is qualified as an expert by knowledge, skill,
                experience, training, or education may testify in the form of an
                opinion or otherwise if: (a) the expert’s scientific, technical, or
                other specialized knowledge will help the trier of fact to
                understand the evidence or to determine a fact in issue; (b) the
                testimony is based on sufficient facts or data; (c) the testimony is
                the product of reliable principles and methods; and (d) the expert
                has reliably applied the principles and methods to the facts of the
                case.

“Federal Rule of Evidence 702 assigns to the district court ‘the task of ensuring that an expert’s

testimony both rests on a reliable foundation and is relevant to the task at hand.’” Smith v.

Jenkins, 732 F.3d 51, 64 (1st Cir. 2013) (citing Daubert v. Merrell Dow Pharm., Inc., 509 U.S.

579, 597 (1993)). Consistent with Rule 702, district courts serve an important gatekeeping

function by conducting a rigorous analysis of both the relevance and reliability of proposed

expert testimony before admitting or considering expert testimony for any purpose. See Kumho

Tire Co. v. Carmichael, 526 U.S. 137, 147-52 (1999); Calisi v. Abbott Labs., No. CIV.A. 11-

10671-DJC, 2013 WL 5441355, at *5, *12 (D. Mass. Sept. 27, 2013) (Casper J.) (granting



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motion to exclude expert evidence under Rule 702). The EEOC has the burden of establishing

that Dr. Crawford’s testimony satisfies these requirements. Id.

         In particular, courts exclude expert opinions where those opinions rely on inaccurate data

or are premised on assumptions not based on fact. See, e.g., EEOC v. Freeman, 778 F.3d 463,

466-69 (4th Cir. 2015). Courts also strike expert testimony that is “too speculative to survive

scrutiny under Rule 702” and amounts to “mere conjecture.” See Maga v. Hennessy Indus., Inc.,

No. 12–11423–FDS, 2014 WL 10051399, at *9-10 (D. Mass. Dec. 1, 2014); see also Real View,

LLC. v. 20-20 Techs., Inc., 878 F. Supp. 2d 282, 285-87 (D. Mass. 2012) (striking speculative

expert testimony and explaining that “trial judges may evaluate the data offered to support an

expert’s bottom-line opinions to determine if that data provides adequate support to mark the

expert’s testimony as reliable” (citation omitted) (internal quotation marks omitted)). Courts

have also excluded expert testimony in employment discrimination cases where the expert relies

on general population data to represent the pool of potential employees. See EEOC v. Freeman,

961 F. Supp. 2d 783, 789 (D. Md. 2013) (“The general population pool cannot be used as a

surrogate for the class of qualified job applicants, because it contains many persons who have not

(and would not) be applying for a job with Defendant”) (quoting Wards Cove Packing Co. v.

Atonio, 490 U.S. 642, 653-54 (1989)); see also Griffin v. Gulfstream Aerospace Corp., No.

CV401-97, 2004 WL 5518161, at *2-3 (S.D. Ga. Feb. 19, 2004) (striking expert analysis where

“it is difficult to discern how the … population identified by [plaintiff’s expert] can be

legitimately compared to the [] workforce of defendant and yield applicable and probative

results”).

         Not only must Dr. Crawford’s testimony meet the relevance and reliability standards of

Rule 702, but also Rule 403’s requirement that the probative value of the evidence outweigh the



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danger of unfair prejudice and confusion of the issues. See Fed. R. Evid. 403; Zibolis-Sekella v.

Ruehrwein, No. 12-CV-228-JD, 2013 WL 4042423, at *3 (D.N.H. Aug. 8, 2013). In addition,

any expert opinion must meet the disclosure requirements of Federal Rule of Civil Procedure 26,

including the requirement that an expert witness’s opening report contain “a complete statement

of all opinions the witness will express and the basis and reasons for them. ” Fed. R. Civ. P.

26(a)(2)(B).

                                           ARGUMENT

I.       DR. CRAWFORD’S ANALYSES USING CENSUS DATA ARE
         NEITHER PROBATIVE NOR RELIABLE BECAUSE THE DATA
         DO NOT ACCURATELY REFLECT THE APPLICANT POOL AT
         TEXAS ROADHOUSE.

         Courts agree that “[w]here plaintiffs use statistical evidence to challenge an employer’s

hiring practices, that evidence … must compare the relevant portion of the employer’s work

force with the qualified population in the relevant labor market.” Anderson v. Douglas &

Lomason Co., 26 F.3d 1277, 1286-87 (5th Cir. 1994) (citation omitted) (collecting cases). Using

data reflecting “[a]ctual applicant flow figures are the preferred method by which to measure an

employer’s hiring practices and performance.” Id. at 1287.

         To support the EEOC’s claims, Dr. Crawford analyzed three sets of data – or

“benchmarks” – which he uses to establish the population of individuals who applied to the FOH

jobs at issue in this case: servers, server assistants, hosts and bartenders. (App. 2, Crawford Am.

Report ¶¶ 14-16, 28-37, 43-56.) Two of Dr. Crawford’s benchmarks use actual applicant flow

data for Texas Roadhouse restaurants: paper applications and electronic applications submitted

through an online portal called Snag-A-Job (“Snag-A-Job data”). (Id. ¶¶ 32-37, 43-55.)

However, the third benchmark analyzed by Dr. Crawford is comprised of general labor force

data obtained from the U.S. Bureau of the Census (“Census data”). (Id. ¶¶ 28-29.) The Census


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data contain information regarding existing workers in a broad collection of occupations in food

and beverage service establishments of every type. The Census data are not limited to particular

kinds of businesses or employers, but rather include all workers identified as performing one of

four occupational “codes”: waiter/waitress, host/hostess, bartender, or “food preparation and

serving related worker.” (Id. ¶ 29.) Although this data is in no way tailored to the applicant pool

for FOH positions at Texas Roadhouse restaurants, Dr. Crawford uses data from these overbroad

occupational classifications as a “proxy” for the Texas Roadhouse applicant pool. (Id. ¶¶ 28-31.)

The Census data, however, are a wholly inappropriate substitute for the actual Texas Roadhouse

applicant pool, and accordingly, each of Dr. Crawford’s analyses based on Census data should be

stricken. See United States v. Fairfax Cty., Va., 629 F.2d 932, 939-41 (4th Cir. 1980) (holding

that actual applicant flow data are the proper measure of the relevant labor market for a particular

employer, and finding that the district court erred in accepting generalized census data as a

composite of the labor market).

         A.     The Census Data Are Not A Reliable Basis From Which To
                Estimate The Actual 40+ Applicants To Texas Roadhouse.

         Because the data include only incumbent employees, the Census data vastly overestimate

the number of applicants in the 40+ group and produce a highly unreliable estimate of the actual

age distribution of the applicant pool in any year. The inaccuracy of the Census data for Dr.

Crawford’s analyses is best demonstrated by comparing Dr. Crawford’s actual applicant pool

data for the year 2014 with Census data for that same period. Starting in 2013, Texas Roadhouse

began to phase out the use of paper applications, and to instead rely almost exclusively on the

online Snag-A-Job portal (“Snag-A-Job”). (App. 1, Crawford Dep. 134.) Consequently – and as

Dr. Crawford admitted during his deposition – there is no reason to believe that Snag-A-Job data




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for 2014 are in any way incomplete and there is no basis to substitute the Census benchmark as a

proxy for the actual data for 2014. (Id. 134-35.)

         Using the complete, actual applicant flow data captured by Snag-A-Job for 2014, Dr.

Crawford finds that 3.7% of the persons who applied to Texas Roadhouse for a FOH position

were 40+. (App. 6, Saad Report, Ex. 29.) Using Census data for that same period, however, Dr.

Crawford concludes that 18.5% of the applicants for FOH positions should be 40+. (Id., Ex. 30.)

In other words, the Census data proxy applicant flow exceeds the proportion of 40+ applicants

that actually applied for jobs in that year by a multiple of five (500%). Further, because Dr.

Crawford uses the 18.5% Census benchmark for each year of his analysis – not just 2014 – and

the percentage of 40+ applicants in the paper applications and Snag-A-Job benchmarks only vary

within a narrow range of a few percentage points from year to year, using Census data vastly

overstates the proportion of 40+ applicants in all years, not just 2014. (Id., Exs. 28-30.)

         Dr. Crawford recognizes the vast discrepancies in the age distribution of the data, but

made no attempt to reconcile or investigate the differences:

                Q.      [T]he U.S. Census data for 2014 shows a percentage of over-forty
                        in the applicant pool that is almost five times greater than the
                        percentage of those folks actually represented in the 2014
                        SNAGAJOB applications which are complete; are you aware of
                        that?

                A.      Yes, yes, I’m aware of that. ...

                Q.      You didn’t investigate explanations for those differences, is that
                        true?

                A.      No.

(App. 1, Crawford Dep. 136-37.)

         But this over-estimation resulting from Census data is unsurprising. To begin with,

Census data are comprised of existing employees in a category of jobs as opposed to those who


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are actually looking for a job. (Id. 125-27.) Workers generally apply for entry-level jobs at the

beginning of their career and then become progressively older during their time in the work

force. Applicants for entry-level positions and incumbent employees therefore constitute entirely

different populations when it comes to age distribution: the applicants for entry-level positions

tend to be younger than incumbent employees. Consequently, the age of persons currently

working in the food service industry generally tells little about their age when they applied for

their first job in an entry level position, which is the information that matters to an analysis of

applicant flow.

         B.       The Census Data Include Workers In An Overly Broad Range
                  Of Food Service Establishments That Are Not Comparable To
                  Texas Roadhouse.

         The Census benchmark is also a flawed proxy for actual Texas Roadhouse applicants

because it includes numerous non-comparable jobs in a wide range of food and beverage service

establishments that are entirely different from the four FOH positions at issue. Critically, the

Census data include anyone currently employed at any business fitting within one of four broad

occupational codes: waiter/waitress, host/hostess, bartender, or “food preparation and serving

related worker.” (App. 2, Crawford Am. Report ¶ 29.) Each occupational code, in turn, covers

numerous “occupation titles”: for example, waiter/waitress includes not only “car hop” and

“deck steward,” but also “sommelier.” (App. 9.1) Taking the four occupational codes together,

they cover a sweeping range of jobs across the service spectrum, from “cafeteria worker” and




1
  Census 2010 Occupation Index, available at
http://www.census.gov/people/io/methodology/indexes.html. For the Court’s convenience, an extract from
the U.S. Census Bureau index with the relevant occupational codes are included in the appendix to this
Motion.




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“lunchroom aide,” to “Maitre D’” and “dining room captain.” (Id.) The Census data therefore

include, on one end of the service spectrum, venues such as school cafeterias, diners and delis;

and on the opposite end of the spectrum, expensive white tablecloth restaurants. (Id.; App. 1,

Crawford Dep. 127-132.) The Census data also include, in contrast to Texas Roadhouse,

restaurants that serve only breakfast and/or lunch, and establishments that serve alcohol and offer

late night entertainment. (Id.) The variation in food service establishments yields not only

variation in the expected guest experience, which dictates certain required skill sets and potential

earnings, but also wide differences in the employee’s own job expectations regarding hours,

work schedules, and working conditions. Notably, Texas Roadhouse does not serve breakfast,

and the majority of Texas Roadhouse restaurants do not serve lunch during the week, and Dr.

Crawford acknowledges that “restaurants that serve lunch during the week hire more over-forty

applicants than those that do not.” (App. 1, Crawford Dep at 121.)2

         The Census data are not tailored to include only casual dining restaurants that primarily

serve dinner and are therefore comparable to Texas Roadhouse. Nevertheless, Dr. Crawford

assumes, without any stated scientific or factual basis, that an experienced waiter or waitress at a

five-star restaurant is as likely to apply to Texas Roadhouse as someone who works as a deck

hand or in a school cafeteria. Dr. Crawford’s analysis ignores the profound differences between

establishments and the skill set, compensation expectations, and hours preferences of their

employees, which are likely to differ by age and years of experience in the work force.




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 Despite that acknowledgement – and notwithstanding that most Texas Roadhouse restaurants do not
serve lunch – Dr. Crawford did not separately analyze restaurants that serve lunch from those that do not.
(App. 1, Crawford Dep. 120.)




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         In sum, Dr. Crawford’s unsupported assumption that unfiltered Census data may stand as

a proxy for Texas Roadhouse applicant flow ignores reality, particularly where, as here, the

Census estimates have been proven to grossly overstate the percentage of 40+ applicants when

compared to actual applicant flow data. Accordingly, the Court should strike Dr. Crawford’s

opinions based on Census data, as opposed to actual applicant flow data. See Real View, 878 F.

Supp. 2d at 286-87 (holding that benchmarks are improper under Daubert where they are not

comparable to the facts at issue); Griffin, 2004 WL 5518161, at *2-3 (striking expert testimony

in an employment discrimination case which used overbroad population data as a proxy for the

applicant pool).

         C.     The Census Data Do Not Include People Who Are New To The
                Job Market, Which Distorts Dr. Crawford’s Analysis.

         The Census data include only persons who currently hold a job, not those who are

looking for a job but do not currently hold one (such as first-time job seekers or the

unemployed). Dr. Crawford does not contest that a large number of applicants are thus omitted

from the data. In fact, he concedes that the data “do not reflect anybody who’s not employed.”

(App. 1, Crawford Dep. 125.)

         By omitting the large group of job-seekers, Dr. Crawford ignores the undisputed fact that

a large percentage of applicants to Texas Roadhouse restaurants are people who are newly

entering the employment market. First-time employees, including students, are a large source of

labor for entry level jobs such as the FOH positions at issue here, and the National Restaurant

Association reports that one in three adults in the United States obtained their first work

experience in a restaurant, a reality which Dr. Crawford concedes. (Id. 118, 122.) Dr. Crawford

cannot dispute that the population of first-time job seekers naturally skews younger, the result

being that the Census data disproportionately excludes a large population of job seekers who are


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under the age of 40. (App. 6, Saad Report ¶¶ 66, 73-74.) Dr. Crawford has therefore omitted a

substantial portion of the applicant flow that his Census data is designed to proxy, and that

omission asymmetrically excludes a larger number of younger job seekers compared to older

persons, not in the work force, who may no longer be seeking employment or who may not be

seeking to re-enter the work force in the types of entry-level jobs offered by restaurants such as

Texas Roadhouse. (App. 1, Crawford Dep. 126-27.)

         D.     The Census Data Are Incomplete.

         Dr. Crawford’s rationale for using the Census data is that since some paper applications

are missing and electronic applications were not used for the entire time period, the applicant

flow data is incomplete and the Census data should be used instead. (App. 4, Crawford Am.

Reply ¶¶ 10(e)-(h).) However, this rationale is undermined by the fact that Dr. Crawford only

analyzed approximately 70,000 of over 350,000 paper applications produced in discovery,

suggesting that there were many more paper applications than were necessary for his analysis.

(App. 2, Crawford Am. Report ¶¶ 46, 49.) Also, Dr. Crawford concedes that there is no basis for

favoring the Census benchmark for 2014 because the actual applicant flow data is complete for

that year. (App. 1, Crawford Dep. 134-35.)3




3
  The parties’ experts dispute whether, if a restaurant had an incomplete production of the total number of
its paper applications, the missing applications have any relationship to age. Texas Roadhouse’s expert,
Dr. Saad, opined that there was no reason to expect that the age composition of missing applications
would be different from the 350,000 applications produced in discovery. (App. 6, Saad Report ¶¶ 52-55).
On the other hand, Dr. Crawford – who did not initially address this question – replied to Dr. Saad and
concluded the opposite. (App. 3, Crawford Reply ¶¶ 54-60; App. 4, Crawford Am. Reply ¶¶ 54-60; App.
5, Crawford Revised Am. Reply ¶¶ 54-60.) Dr. Saad subsequently demonstrated that Dr. Crawford’s
conclusions were based on false assumptions, which when corrected lead to the opposite result. (App. 7,
Saad Sur-Reply ¶¶ 2-18.) Additionally, Dr. Saad showed that the missing applications could not
conceivably change the application pool to equal the Census benchmark. (Id. ¶¶ 19-20.) In any event, for
the purposes of this motion, the Court need not enter this fray. The disagreement on this issue does not



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         In any event, Dr. Crawford’s suggestion that the Census is a superior benchmark is also

undercut by the fact that the Census data itself is incomplete. As explained in Dr. Crawford’s

report, the Census data provide the age distribution for workers in particular geographic regions

called “Core Based Statistical Areas” (“CBSAs”). Dr. Crawford’s analysis attempted to match

each Texas Roadhouse restaurant with a CBSA, but was unable to do so for 28 restaurants,

which is 7% of the total population. (App. 2, Crawford Am. Report ¶¶ 28-30.) Dr. Crawford

speculates – again without investigation or analytical bases – that this missing data would make

no difference in his results, but he has no empirical basis for that assumption. (App. 1, Crawford

Dep. 142-43.) The Census data are no more “complete” than the actual applicant data; and,

moreover, the Census data are proven to be highly unreliable when compared to applicant flow

data in 2014 that are concededly complete.

         In sum, Dr. Crawford cannot reliably base any conclusions on Census data because (i)

that data as a proxy for actual applicant flow is demonstrably inflated; (ii) it is contaminated by

data for jobs that are not remotely comparable to the FOH jobs offered by Texas Roadhouse; (iii)

it excludes a large population of job-seekers who would reduce the average age of a proper

benchmark; and (iv) it is no more “complete” than either of the other two actual benchmarks.

Dr. Crawford’s opinions relying on a Census “proxy” for actual job seekers for the positions in

question thus do not meet the standards of Rule 702 or Rule 403 and should be stricken.




provide Dr. Crawford license to use a defective Census benchmark that has been shown to wildly
overstate the percentage of 40+ applicants and which, itself, is incomplete.




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II.      DR. CRAWFORD’S CONCLUSIONS CANNOT ASSIST THE
         TRIER OF FACT IN DETERMINING WHETHER HUNDREDS OF
         HIRING MANAGERS FOLLOWED A PRACTICE OF
         INTENTIONALLY DISCRIMINATING AGAINST PERSONS AGE
         FORTY OR OLDER.

         Courts must exercise their gatekeeping function to exclude expert findings that do not

assist the trier of fact in understanding the evidence or in determining a fact at issue. Kumho

Tire, 526 U.S. at 149; Smith, 732 F.3d at 64. Here, the EEOC alleges that “Texas Roadhouse has

engaged in a pattern or practice of age discrimination, engineered at the Company’s highest

levels and carried out at its restaurants nation-wide.” (Dkt. 183 at 2.) To succeed on its claim,

the EEOC must, at a minimum, (i) prove that routine and purposeful age discrimination was

Texas Roadhouse’s nationwide “standard operating procedure, the regular rather than the

unusual practice,” Int’l Brotherhood of Teamsters v. U.S., 431 U.S. 324, 336 (1977), and (ii)

prove that Texas Roadhouse’s 40+ applicants were subject to a single, shared discriminatory

environment, see Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 352-53 (2011). The legal

foundation for a pattern or practice claim is addressed in more detail in Defendants’

contemporaneous Motion for Summary Judgment.

         A.     Even Accepting Dr. Crawford’s Flawed Analysis At Face
                Value, The Wide Variation In His Results Is Inconsistent With
                A Standard Pattern Or Practice Of Age Discrimination.

         Managing Partners are independent operators with primary responsibility for a single

restaurant location. (App. 10, Beckel Dep. 24.) Texas Roadhouse delegates the authority to hire

restaurant-level employees to the Managing Partners, who are free to apply their own judgment –

subject to the Non-Discrimination Policies promulgated by Texas Roadhouse. (See generally




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Collective Managing Partner Decs.4) Dr. Crawford concedes that the different Managing

Partners at each restaurant use different criteria for hiring (App. 1, Crawford Dep. 108), and he

further admits that his analyses tell us nothing about the hiring decisions of any specific

Managing Partner or at any particular restaurant in any given year:

                  Q.      So as not to lose the forest for the trees here, wouldn’t it be fair to
                          say, Dr. Crawford, that looking at your statistical analysis of all
                          restaurants combined using the M-H procedure, we cannot tell
                          whether or not the hiring decisions of any specific managing
                          partner at any location are age neutral or not; that’s true, isn’t it?
                  A.      Yeah, that’s not what I was testing.
                                                 *        *      *
                  Q.      So the combined results in your report do not provide us with any
                          evidence as to whether or not there were age-neutral hiring
                          decisions made by specific individual [Managing Partners] at their
                          store in any given year?
                          [objection]
                  A.      That’s correct.

(Id. 91-92; 101.) Further, Dr. Crawford acknowledges that his results may change from year to

year for any individual restaurant, and also between positions at a single restaurant. (Id. 101-

102.)

          It is therefore not surprising that Dr. Crawford’s underlying statistics reflect wide

variation among restaurants that is utterly inconsistent with a pattern or practice of intentional

age discrimination. (App. 6, Saad Report ¶¶ 18-42; App. 8, Saad Dec. ¶¶ 3-11, Exs. A-G.) His

opinions are irrelevant to the EEOC’s claim because they are the result of averaging results

across restaurants nationwide, and hide meaningful underlying variation between different

restaurants, different Managing Partners, different positions, and different years. As Dr.



4
    Filed with the Appendix to Defendants’ Rule 56.1 Statement of Material Facts.



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Crawford agreed during his deposition: “averages may conceal substantial variation in the

magnitudes of the relative risks among subgroups.” (Id. 91.)5

         Moreover, Dr. Crawford provides no justification for aggregating hiring data across

hundreds of Texas Roadhouse restaurants nationwide. (Id. 70-71, 108.) Without a uniform

policy or uniform decision-maker(s) across restaurants, Dr. Crawford’s analysis of aggregated

data has no foundation. See Wal-Mart Stores, 564 U.S. at 356-57 (explaining that where there is

no specific employment practice implemented across locations, statistical disparities based on

aggregate nationwide data fail to demonstrate the existence of discrimination); Moore v. Boeing

Co., No. 4:02CV80 CDP, 2004 WL 3202777, at *13 (E.D. Mo. Mar. 31, 2004) (“When the

decision-making processes and the criteria used vary from one job group to the next, it is

difficult to see how the aggregation of these decisions is useful.”)6

         In short, Dr. Crawford’s opinions based on nationwide averages conceal the very

different outcomes at the decision-maker levels that vary from restaurant to restaurant, year to

year, and even by position. His opinions therefore cannot assist the trier of fact in determining if

individual decision-makers intentionally discriminated so pervasively as to constitute a pattern or

practice of discrimination. More likely, they will mislead or confuse a lay trier of fact, by


5
 See, e.g., Abram v. UPS of Am., Inc., 200 F.R.D. 424, 431 (E.D. Wis. 2001) (noting the pitfalls in
drawing conclusions based on averages by citing the parable of Bill Gates meeting in a room with nine
monks: on average the people in the room are extremely wealthy, but in reality, 90% of them have taken a
vow of poverty).
6
 Aggregating data from heterogeneous sources can distort patterns in the data, a phenomenon known as
“Simpson’s Paradox.” David H. Kaye & David A. Freedman, “Reference Guide on
Statistics,” REFERENCE MANUAL ON SCIENTIFIC EVIDENCE 83, 108-10, n. 92 (Fed. Judicial Ctr.
Ed., 2d ed. 2000) (demonstrating how improper aggregation can distort patterns in the data); Eng’g
Contractors Ass’n of S. Fla v. Metro. Dade Cnty., 122 F.3d 895, 919 n.4 (11th Cir. 1997) (“the
aggregation of [] statistics for nonheterogenous data populations can give rise to a statistical phenomenon
known as ‘Simpson’s Paradox,’ which leads to illusory disparities in improperly aggregated data that
disappear when the data are disaggregated”).




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purporting to bear a probative weight they cannot logically claim. Since his expert reports and

testimony cannot assist the trier of fact in this litigation, the Court should strike and exclude

them.

         B.     Dr. Crawford’s Aggregate Statistics Do Not Identify Any
                Cause Of The Alleged Hiring Discrepancies.

         Even accepting Dr. Crawford’s findings for the purposes of argument, his reports and

testimony make no attempt to investigate the cause of the alleged hiring discrepancies or to

analyze any theory advanced by the EEOC as to what factors allegedly brought about this

difference in hiring. Indeed, Dr. Crawford admitted during his deposition that he was not

provided information regarding the reasons for the hiring of applicants for any given restaurant

(App. 1, Crawford Dep. 54), making it impossible for him to develop an understanding as to why

certain applicants were hired and others were not. Dr. Crawford further testified that his

statistical methodology did not prove any theory of causation, that he had no basis to form an

opinion regarding causation, and that he could not identify any specific employment practice or

policy that might have caused the hiring rates that he observed. (Id. 69-71.)

         In other words, Dr. Crawford opines only on the average hiring difference based on

nationwide aggregate statistics without any theory of causation identified by him or by the EEOC

that is put to the test by his analysis. 7 But average statistical disparities alone cannot support a

finding of discrimination, much less intentional age discrimination as alleged in this suit. The



7
  Dr. Crawford claimed in his amended reply report that “I did not present any aggregated or averaged
results.” (App. 4, Crawford Am. Reply ¶ 10(b).) But during his deposition testimony, Dr. Crawford
admitted that the procedure he used to analyze paper applications and Snag-A-Job data – called the
“Mantel Haenszel technique” – utilizes a “weighted average” of restaurant-level results thereby entirely
undermining his claim. (App. 1, Crawford Dep. 80-81.) Additionally, his conclusions based on Census
data combined all restaurant-level observations. (Id. 92.)




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Supreme Court instructs: “It is completely unrealistic to assume that unlawful discrimination is

the sole cause of people failing to gravitate to jobs and employers in accord with the laws of

chance…[or] to suppose that employers can eliminate, or discover and explain, the myriad of

innocent causes that may lead to statistical imbalances in the composition of their work forces.”

Watson v. Fort Worth Bank & Trust, 487 U.S. 977, 992 (1988) (citation omitted).

III.     THE COURT MUST DISREGARD DR. CRAWFORD’S
         SPECULATIVE STATEMENTS REGARDING THE EFFECT OF
         THE 2010 LETTER OF DETERMINATION AND SUBSEQUENT
         LAWSUIT, AND THE PURPORTED POST-OPENING
         “CHILLING” EFFECT.

         Dr. Crawford states that he does not provide any opinion regarding the cause of purported

hiring discrepancies on the basis of age, and yet he speculates – without actually concluding –

that his results are “consistent” with certain hypothetical possibilities relating to the effect of the

EEOC’s 2010 letter of determination and filing of this litigation in 2011, and the possible

“chilling effect” on hiring at new restaurants. His assertions of what “might have” or “could

have” happened are pure speculation, not expert opinion, and they are likely to mislead, not

inform, the trier of fact.

         A.     Dr. Crawford’s Assertions Are Speculation And Should Be
                Stricken.

         Dr. Crawford’s report includes assertions that are unreliable conjecture, not based on

“sufficient facts or data” and unlikely to assist a trier of fact. These assertions should be

excluded by this Court. Calisi, 2013 WL 5441355, at *12.

         First, Dr. Crawford stated that his certain of his results “are consistent” with the notion

that Texas Roadhouse’s hiring rates improved during the relevant period because the EEOC sent

a letter of determination in 2010 and filed this litigation in 2011. (App. 2, Crawford Am. Report

¶¶ 25-26, 62, 66, 69, 72, 78, 83, 86, 92, 96, 101.) In other words, increases in 40+ hiring after


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these two events somehow demonstrates that Texas Roadhouse maintained a prior practice of

intentional age discrimination. But when pressed during his deposition, Dr. Crawford plainly

testified that he did not investigate the reasons for hiring decisions, his statistical analysis

implied no theory of causation, and that he was not offering any opinion as to what was, in fact,

the cause of an increase in 40+ hires:

                Q:      You referred to the hiring rates over time as consistent with the
                        hypothesis, your phrase, that Texas Roadhouse increased its effort
                        to hire older workers after the EEOC[’]s letter of determination in
                        2010?
                 A.     Right.
                Q.      Directing your attention to that hypothesis, you have not come to a
                        professional opinion as to whether the hypothesis is true, only that
                        your statistical findings are consistent with it, isn’t that right?
                A.      Yeah, I have not proven and don’t claim to have proven that the
                        changes before and after the letter were caused by the letter.

(App. 1, Crawford Dep. 73, 54, 69-71.) Dr. Crawford admitted that he did not know whether the

individuals responsible for FOH hiring at the various restaurants were even aware of the 2010

letter. (Id. 72.) Similarly, Dr. Crawford’s assertion that the filing of this case in 2011 might

have led to an increase in 40+ hiring is pure speculation without investigation or statistical

analysis.

         Courts in the First Circuit strike speculative opinions unsupported by sufficient facts, and

the Court should do so here. As explained by one district court, “[a] court may choose to

exclude an expert’s opinion when it is based on conjecture or speculation from an insufficient

evidentiary foundation.” Maga, 2014 WL 10051399, at *10 (excluding speculative expert

testimony); Zibolis-Sekella, 2013 WL 4042423, at *3 (excluding “opinions about causation []

based on mere possibilities and speculation”). Moreover, Dr. Crawford’s speculation that

changes in the applicant pool might have occurred due to certain events is more likely to mislead



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the trier of fact than assist. See 6 Jones on Evidence § 42:32 (7th ed.) (“[F]or an expert to testify

that … certain events or substances ‘might’ or ‘could’ have caused a specified result, are of little

help to a fact-finder and therefore should be excluded.”); Wu v. Miss. State Univ., No. 1:13–CV–

00002–DMB–DAS, 2014 WL 5799972, at *12 (N.D. Miss. Nov. 7, 2014), aff’d sub nom. 626 F.

App’x 535 (5th Cir. 2015) (rejecting expert opinion that it was “not improbable” that “some”

students were impacted by their professor’s speech).

         Second, Dr. Crawford asserts that his results are “consistent with post-opening chilling of

applications from people who were 40 and older.” (App. 3, Crawford Reply ¶ 61; App. 4,

Crawford Am. Reply ¶ 61; App. 5, Crawford Revised Am. Reply ¶ 61.) But similar to his

testimony regarding the effect of the letter of determination, Dr. Crawford admits that he was

only speaking hypothetically and has not formed any professional opinion that the circumstances

surrounding a restaurant opening caused a decrease in applications from 40+ individuals. (App.

1, Crawford Dep. 74-75.) Dr. Crawford further admitted that a decline in 40+ applications could

have occurred for a variety of reasons, including external economic factors. (Id. 79.) Dr.

Crawford’s assertion is unsupported by any empirical investigation and will not assist the trier of

fact, and must be stricken on that basis.

         B.     The Court Should Strike Dr. Crawford’s Speculation About
                “Chilling” Because It Was Made For The First Time On
                Reply.

         Dr. Crawford’s assertion that certain of his results are “consistent with post-opening

chilling of applications” was also articulated for the first time in his reply report, rendering the

opinion untimely under Rule 26. Fed. R. Civ. P. 26(a)(2)(D). Courts exclude expert opinions

where, as here, they are articulated for the first time in a reply report and do not directly respond

to a criticism leveled by the opposing expert. See, e.g., In re High-Tech Emp. Antitrust Litig.,

No. 11-cv-02509-LHK, 2014 WL 1351040, at *12 (N.D. Cal. Apr. 4, 2014) (“In sum, because

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Plaintiffs waited until after Defendants had filed their last expert report for [Plaintiffs’ expert] to

offer a new theory, Plaintiffs have violated Rule 26(a)(2)(B)’s requirement that an expert

witness’s opening report contain ‘a complete statement of all opinions the witness will express

and the basis and reasons for them’ together with ‘the facts or data considered by the witness in

forming them.’ Fed. R. Civ. P. 26(a)(2)(B)(i)–(iii). Plaintiffs will not be allowed to ‘sandbag’

Defendants with new analysis that should have been included at the very least in [Plaintiffs’

expert’s] opening merits report.”).

         Dr. Crawford admitted that his “chilling” observation was not included in his affirmative

expert report (App. 1, Crawford Dep. 74), and since Dr. Saad’s rebuttal report says nothing about

the percentage of applications from 40+ individuals before and after the opening of a restaurant,

Dr. Crawford’s new observation cannot be a rebuttal to any critique leveled by Dr. Saad. (See

generally App. 6, Saad Report.) For this reason alone, the Court should strike Dr. Crawford’s

belated “chilling” opinion.

                                           CONCLUSION

         For all of the foregoing reasons, Defendants respectfully request that the Court grant

Defendants’ motion to strike Dr. Crawford’s reports and testimony in whole or in part.



 Dated: August 1, 2016                                   Respectfully submitted,

                                                         SEYFARTH SHAW LLP


                                                         By:     /s/Christopher J. DeGroff
                                                                 By One of Its Attorneys




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                                  CERTIFICATE OF SERVICE

         I, Christopher J. DeGroff, an attorney, do hereby certify that, on this 1st day of August,

2016, I have caused a true and correct copy of the foregoing DEFENDANTS’ MEMORANDUM OF

LAW IN SUPPORT OF THEIR MOTION TO STRIKE THE REPORTS AND TESTIMONY OF DR.

DAVID L. CRAWFORD to be filed with the Clerk of the Court using the CM/ECF system, which

will send notification to the following:

 Markus L. Penzel                                      Robert D. Rose
 Equal Employment Opportunity Commission               Equal Employment Opportunity Commission
 John F. Kennedy Federal Building                      33 Whitehall Street, 5th Floor
 Government Center, Room 475                           New York, NY 10027
 Boston, MA 02203-0506                                 Ph: 212-336-3708
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                                                         /s/ Christopher J. DeGroff


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